UNITED STATES DISTRICT COURT
EASTERN DISTRICT ()F TENNESSEE

 

AT KNOXVILLE
PAMELA C()LLINS, )
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v' i No. 3 :10~0/-45|
lC’l({)(l:/I(:)RAENSYS,IVE DIRECT INSURANCE § p}_u_mhps_ l § Ml&-f
Defendant. §

NOTICE ()F REMOVAL ()F ACTION

To: THE CLERK 0F THE UNITED STATES DISTRICT COURT FoR THE EASTERN DISTRICT oF
TENNESSEE, AT KNOXVILLE, TENNESSEE:

PLEASE TAKE NOTICE that, Progressive Direct lnsurance Company, the only named
Defendant in the above cause, pursuant to 28 U.S.C § 1446, hereby removes to the United States
Distn`ct Court the above-captioned action from the Union County Circuit Court, at Maynardville,
Tennessee, Docket No. 2846. In support thereof, Would show linto the Court as follows:

l. On July 30, 2010, a civil action Was commenced in the Union County Circuit Court
at Union, Tennessee, styled Pamela Collins v. Pro,qressive Direct Insurance Companv, Docket No.
2846, (True and correct copies of the pleadings Served on Defendant are attached hereto as M
5 and incorporated by reference herein.)

2. Defendant first received notice of this action on or about September 29, 2010, at
which time a copy of the Summons and Complaint Was served by certified mail on CT Corporation.
A second copy of the Summons and Complaint Was served on CT Corporation by hand delivery on

October 4, 2010. No other process, pleadings or orders have been served on Defendant in this

action.

Case 3:1O-cV-OO451-CCS Document 1 Filed 10/22/10 Page 1 of 3 Page|D #: 1

3. Def`endant has not yet served a responsive pleading or motion in this case.

4. This lawsuit involves claims for breach of contract and under the Tennessee
Consumer Protection Act wherein the Plaintif`f` seeks recovery from the Defendants under an
automobile policy of insurance

5. This court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§1332. The Plaintiff is a citizen of` the Union County, Tennessee. The Defendant, Progressive
Direct Insurance Company, is a corporation incorporated under the laws of Ohio having its
principal place of business in Cleveland, Ohio. Theref`ore, the parties are diverse pursuant to 28
U.S.C. § 1332.

6. Plaintiff` has demanded judgment against Defendant in the amount of`
$150,00().00. Therefore, the amount in controversy exceeds $75,000.0(), the statutory minimum
required f`or diversity jurisdiction pursuant to 28 U.S.C. § 1332.

7. This Notice of Removal is filed within the Statutory period required by 28 U.S.C.
§ 1446.

8. Since this civil action is now pending in the Union County Circuit Court in Union
County, Tennessee, the Eastem District of Tennessee, at Knoxville, Tennessee, is the proper forum
for removal pursuant to 28 U.S.C. § l44l(a).

9. Written notice of the filing of this Notice of Removal of the above-referenced
action shall be promptly delivered to all parties through their counsel of` record. A copy of the
Notice of Removal will be filed promptly with the Clerk of the Union County Circuit Court.

WHEREFORE, Defendant Progressive Direct Insurance Company requests that this Court

take jurisdiction of this action and issue all necessary orders and process to remove said action from

Case 3:1O-cV-OO451-CCS Document 1 Filed 10/22/10 Page 2 of 3 Page|D #: 2

the Union County Circuit Court, Tennessee, to the United States District Court for the Eastern
District of Tennessee at Knoxville.

Respectfully submitted,
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By LW.

errill L. Adkins, BPR #013138
Attorney for Progressive Direct Ins. Co.
P.O. Box 51450
Knoxville, Tennessee 37950
865/330-2577

 

 

 

CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy of the foregoing has been
served on all parties herein by delivering same or by posting same in the United States Mail,

postage prepaid, to:

Dirk A. Daniel, Esq.
P.O. BoX 6

Rutledge,TN 37861-0 6
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By:

 

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Case 3:1O-cV-OO451-CCS Document 1 Filed 10/22/10 Page 3 of 3 Page|D #: 3

